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 8
 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11
12   KRISTOPHER HASSELL,                      Case No.:
13                 Plaintiff,
                                              COMPLAINT AND DEMAND FOR
14           vs.                              JURY TRIAL FOR VIOLATIONS
15                                            OF:
16   CHASE BANK, N.A.; and DOES 1 to          1. THE ROSENTHAL FAIR DEBT
17   10, inclusive,                              COLLECTION PRACTICES
18                 Defendant(s).                 ACT [CAL. CIV. CODE § 1788]
19                                            2. VIOLATIONS OF THE
20                                               TELEPHONE CONSUMER
                                                 PROTECTION ACT
21
                                                 [47 U.S.C. § 227]
22
23
24
                                COMPLAINT FOR DAMAGES

25
                                   I.   INTRODUCTION

26
        1.         KRISTOPHER HASSELL (“Plaintiff”) brings this action against

27
     Chase Bank, N.A. (“Defendant”) for violations of the Rosenthal Fair Debt

28
     Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788 and the
     Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. The RFDCPA
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 1   prohibits false or deceptive practices in connection with the collection of debts.
 2   The TCPA is a federal statute that broadly regulates the use of automated
 3   telephone equipment. Among other things, the TCPA prohibits certain unsolicited
 4   marketing calls, restricts the use of automatic dialers or prerecorded messages,
 5   and delegates rulemaking authority to the Federal Communications Commission
 6   (“FCC”).
 7                          II.   JURISDICTION AND VENUE
 8      2.        Jurisdiction in this Court arises under 15 U.S.C. § 1692k(d) which
 9   states that any action to enforce liability created by the FDCPA may be brought in
10   any appropriate United States district court. Jurisdiction of this court also arises
11   under 28 U.S.C.§§ 1331, 1337, and 1367. Pursuant to 28 U.S.C. § 1367,
12   jurisdiction is further proper as to Plaintiff’s RFDCPA claim as it is so related to
13   Plaintiff’s TCPA claim that it forms part of the same case or controversy under
14   Article III of the United States Constitution.
15      3.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
16   because Plaintiff resides in this District, Defendant transacts business in this
17   District and Defendant’s collection communications were received by Plaintiffs in
18   this District and thus, a substantial part of the events or omissions giving rise to
19   this action occurred in this District.
20                                     III.   PARTIES
21           4.   Plaintiff is an individual, residing in Westlake Village, Los Angeles
22   County, California 91361. Plaintiff is a natural person from whom a debt
23   collector seeks to collect a consumer debt which is due and owing or alleged to
24   be due and owing from such person. Thus, Plaintiff is a “debtor” as defined by
25   the RFDCPA, CAL. CIV. CODE § 1788.2(h).
26           5.   Defendant is a financial institution that maintains its corporate
27   headquarters at 270 Park Avenue, New York, New York 10017.
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 1           6.    In the ordinary course of business, regularly, on behalf of itself or
 2   others, Defendant engages in debt collection and thus, Defendant is a "debt
 3   collector" as defined by the RFDCPA, CAL. CIV. CODE § 1788.2(c). Defendant
 4   regularly engages in the collection of debt by telephone in several states
 5   including, California.
 6           7.    The true names and capacities, whether individual, corporate, or in
 7   any other form, of Defendants DOES 1 through 10, inclusive, and each of them,
 8   are unknown to Plaintiff, who therefore sues them by such fictitious names.
 9   Plaintiff will seek leave to amend this Complaint to show the true names and
10   capacities of DOES 1 through 10 should they be discovered.
11                            IV.   FACTUAL ALLEGATIONS
12           8.    Within one year prior to the filing of this action, Defendant contacted
13   Plaintiff to collect money, property or their equivalent, due or owing or alleged to
14   be due or owing from a natural person by reason of a consumer credit transaction,
15   which qualifies as "consumer debt," as defined by RFDCPA, CAL. CIV. CODE §
16   1788.2(f) (alleged debt).
17           9.    At all times relevant to this action, Defendant owned, operated
18   and/or controlled telephone numbers 210-520-6400, 212-810-4531, 847-426-
19   8085, and 847-426-9203. At all times relevant to this action, Defendant called
20   Plaintiff from, but not limited to, telephone numbers 210-520-6400, 212-810-
21   4531, 847-426-8085, and 847-426-9203 for the purpose of collecting the alleged
22   debt.
23           10.   Within one year prior to the filing of this action, Defendant regularly
24   and repeatedly called Plaintiff at Plaintiff’s cellular telephone number, 805-210-
25   9428.
26           11.   Within one year prior to the filing of this action, Defendant caused
27   Plaintiff’s telephone to ring repeatedly and continuously to annoy Plaintiff.
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 1         12.     Within one year prior to the filing of this action, Defendant
 2   communicated with Plaintiff with such frequency as to be unreasonable under the
 3   circumstances and to constitute harassment.
 4         13.    Upon information and belief, Defendant regularly called Plaintiff up
 5   to four (4) times per day in an attempt to collect an alleged debt. For instance and
 6   without limitation, Defendant called Plaintiff on Plaintiff’s cellular telephone on
 7   or about December 2, 2013 at the following times: 8:12 a.m., 11:34 a.m., 4:53
 8   p.m., and 6:15 p.m., respectively.
 9         14.    Upon information and belief, on or about December 3, 2013,
10   Defendant called Plaintiff on Plaintiff’s cellular telephone four (4) times in an
11   attempt to collect an alleged debt at the following times: 8:21 a.m., 10:33 a.m.,
12   12:07 p.m., and 2:45 p.m., respectively.
13         15.    Defendant called regularly and continuously despite the fact that on
14   or about December 21, 2013, Plaintiff advised Defendant to cease calling Plaintiff
15   on Plaintiff’s cellular telephone.
16         16.     Upon information and belief, on or about January 13, 2014,
17   Defendant called Plaintiff on Plaintiff’s cellular telephone four (4) times in an
18   attempt to collect an alleged debt at the following times: 8:02 a.m., 10:05 a.m.,
19   12:03 p.m., and 5:27 p.m., respectively, despite having been advised by Plaintiff
20   that Defendant no longer had Plaintiff’s consent to contact Plaintiff on Plaintiff’s
21   cellular telephone.
22         17.    During the January 13, 8:02 a.m. conversation, Plaintiff again
23   advised Defendant’s agent, “Mobina,” that Plaintiff was unable to pay any alleged
24   debts he may owe, and that Defendant was not to contact Plaintiff on Plaintiff’s
25   cellular telephone.
26         18.    Upon information and belief, on or about January 14, 2014,
27   Defendant called Plaintiff on Plaintiff’s cellular telephone four (4) times in an
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 1   attempt to collect an alleged debt at the following times: 8:28 a.m., 11:25 a.m.,
 2   1:13 p.m., and 5:27 p.m., respectively.
 3         19.       Upon information and belief, on or about January 21, 2014,
 4   Defendant called Plaintiff on Plaintiff’s cellular telephone four (4) times in an
 5   attempt to collect an alleged debt at the following times: 8:31 a.m., 11:21 a.m.,
 6   1:36 p.m., and 6:27 p.m., respectively.
 7         20.       Upon information and belief, on or about January 22, 2014,
 8   Defendant called Plaintiff on Plaintiff’s cellular telephone four (4) times in an
 9   attempt to collect an alleged debt at the following times: 8:08 a.m., 10:05 a.m.,
10   12:04 p.m., and 5:10 p.m., respectively.
11         21.       The natural and probable consequences of Defendant’s conduct were
12   to harass, oppress or abuse Plaintiff in connection with the collection of the
13   alleged debt.
14         22.       The natural and probable consequences of Defendant’s conduct
15   amounts to an unfair or unconscionable means to collect or attempt to collect the
16   alleged debt.
17         23.       At all times relevant to this action, while conducting business in
18   California, Defendant has been subject to, and required to abide by, the laws of
19   the United States, which included the TCPA and its related regulations that are set
20   forth at 47 C.F.R. § 64.1200 (TCPA Regulations), as well as the opinions,
21   regulations and orders issued by the courts and the FCC implementing,
22   interpreting and enforcing the TCPA and the TCPA regulations.
23         24.       At all times relevant to this action, Defendant owned, operated and
24   or controlled an “automatic telephone dialing system” as defined by TCPA 47
25   U.S.C. § 227(a)(1) that originated, routed and/or terminated telecommunications.
26         25.       Within four years prior to the filing of this action, Defendant called
27   Plaintiff at Plaintiff’s cellular telephone number 805-210-9428 multiple times
28   using an artificial prerecorded voice or using equipment which has the capacity to

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 1   store or produce telephone numbers to be called, using random or sequential
 2   number generator and to dial such numbers, also known as an “automatic
 3   telephone dialing system” as defined by TCPA 47 U.S.C. § 227(a)(1)(A) and (B).
 4         26.    Defendant never received Plaintiff’s consent to call Plaintiff on
 5   Plaintiff’s cellular telephone using an “automatic telephone dialing system” or an
 6   “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1).
 7         27.    Assuming Defendant received Plaintiff’s consent to call Plaintiff on
 8   Plaintiff’s cellular telephone using an “automatic telephone dialing system” or an
 9   “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1), this consent
10   was revoked on or about December 21, 2013 when Plaintiff requested that
11   Defendant stop calling Plaintiff.
12         28.    Defendant called Plaintiff at Plaintiff’s cellular telephone number
13   805-210-9428 no less than sixteen (16) times using an “automatic telephone
14   dialing system” or an “artificial or prerecorded voice” after Plaintiff requested
15   that Defendant stop calling Plaintiff.
16         29.    Upon information and belief, at no time have Plaintiff and Defendant
17   had an “established business relationship” as defined by 47 U.S.C. § 227(a)(2).
18         30.    Upon information and belief, Defendant is not a tax exempt
19   nonprofit organization.
20         31.    Upon information and belief, within four (4) years prior to the filing
21   of this action, Defendant willfully and/or knowingly contacted Plaintiff no less
22   than sixteen (16) times at Plaintiff’s cellular telephone using an “automatic
23   telephone dialing system” or using an “artificial or prerecorded voice” in
24   violation of the TCPA.
25                             V.   FIRST CAUSE OF ACTION
26                 (Violation of the RFDCPA, CAL. CIV. CODE § 1788)
27         32.    Plaintiff incorporates by reference all of the above paragraphs of this
28   Complaint as though fully stated herein.

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 1         33.    Defendant violated the RFDCPA. Defendant’s violations include,
 2   but are not limited to, the following:
 3         (a)    Defendant violated CAL. CIV. CODE § 1788.11(d) by causing a
 4   telephone to ring repeatedly or continuously to annoy the person called; and
 5         (b)    Defendant violated CAL. CIV. CODE § 1788.11(e) by communicating,
 6   by telephone or in person, with the debtor with such frequency as to be
 7   unreasonable and to constitute an harassment to the debtor under the
 8   circumstances; and
 9         (c)    Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
10   attempting to collect a consumer debt without complying with the provisions of
11   Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair
12   Debt Collection Practices Act).
13                (i)     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
14   U.S.C. § 1692d by engaging in conduct, the natural consequence of which is to
15   harass, oppress or abuse any person in connection with the collection of the
16   alleged debt; and
17                (ii)    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
18   U.S.C. § 1692d(5) by causing Plaintiff’s phone to ring or engaging Plaintiff in
19   telephone conversations repeatedly; and
20                (iii)   Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
21   U.S.C. § 1692f by using unfair or unconscionable means in connection with the
22   collection of an alleged debt.
23         34.    Defendant’s acts, as described above, were done intentionally with
24   the purpose of coercing Plaintiff to pay the alleged debt.
25         35.    As a result of the foregoing violations of the RFDCPA,
26   Defendant is liable to Plaintiff for actual damages, statutory damages, and
27   attorney’s fees and costs.
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 1                        VI.    SECOND CAUSE OF ACTION
 2                       (Violations of the TCPA, 47 U.S.C. § 227)
 3         36.     Plaintiff incorporates by reference all of the above paragraphs of
 4   this Complaint as though fully stated herein.
 5         37.     Defendant violated the TCPA. Defendant’s violations include, but
 6   are not limited to the following:
 7         (a)    Within four (4) years prior to the filing of this action, on no less than
 8   sixteen (16) occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)
 9   which states in pertinent part, “It shall be unlawful for any person within the
10   United States . . . to make any call (other than a call made for emergency
11   purposes or made with the prior express consent of the called party) using any
12   automatic telephone dialing system or an artificial or prerecorded voice — to any
13   telephone number assigned to a . . . cellular telephone service . . . or any service
14   for which the called party is charged for the call.
15         (b)    Upon information and belief, within four (4) years prior to the filing
16   of this action, on no less than sixteen (16) occasions, Defendant willfully and/or
17   knowingly contacted Plaintiff at Plaintiff’s cellular telephone using an artificial
18   prerecorded voice or an automatic telephone dialing system and as such,
19   Defendant knowing and/or willfully violated the TCPA.
20         38.     As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is
21   entitled to an award of five hundred dollars ($500.00) in statutory damages, for
22   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
23   that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled
24   to an award of one thousand five hundred dollars ($1,500.00), for each and every
25   violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
26         39.     Plaintiff is also entitled to seek injunctive relief prohibiting such
27   conduct in the future.
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 1                              PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully requests that judgment be entered
 3   against Defendant for the following:
 4         (a)   An injunction prohibiting Defendant from contacting Plaintiff on
 5               Plaintiff’s cellular telephone using an automated dialing system
 6               pursuant to 47 U.S.C. § 227(b)(3)(A); and
 7         (b)   Actual damages pursuant to CAL. CIV. CODE § 1788.30(a); and
 8         (c)   As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1),
 9               Plaintiff is entitled to and requests five hundred dollars ($500.00) in
10               statutory damages, for each and every violation, pursuant to 47
11               U.S.C. § 227(b)(3)(B); and
12         (d)    As a result of Defendant’s willful and/or knowing violations of 47
13               U.S.C. § 227(b)(1), Plaintiff is entitled to and requests treble
14               damages, as provided by statute, up to one thousand five hundred
15               dollars ($1,500.00), for each and every violation pursuant to 47
16               U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and
17         (e)   Statutory damages pursuant to CAL. CIV. CODE § 1788.30(b); and
18         (f)   Costs and reasonable attorney’s fees pursuant to CAL. CIV. CODE §
19               1788.30(c); and
20         (g)   Awarding Plaintiff any pre-judgment and post-judgment interest as
21               may be allowed under the law; and
22         (h)   For such other and further relief as the Court may deem just and
23               proper.
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 1                               DEMAND FOR JURY TRIAL
 2           Please take notice that Plaintiff, KRISTOPHER HASSELL, demands a
 3    trial by jury in this action.
 4
 5                                           RESPECTFULLY SUBMITTED,
 6    Dated: March 26, 2014                  PRICE LAW GROUP, APC
 7
 8                                           By: /s/ G. Thomas Martin, III
                                                    G. Thomas Martin, III
 9                                                  Attorney for Plaintiff
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